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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20536-15-BC
v.                                                            Honorable Thomas L. Ludington

ANTOINE MARSHALL,

               Defendant.

__________________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION,
               ACCEPTING DEFENDANT’S GUILTY PLEA, AND TAKING
               THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on February 17 2012, by U.S. Magistrate Judge Charles E.

Binder pursuant to the Defendant’s consent. The magistrate judge issued his report (ECF No.

569) on February 10, 2012, recommending acceptance of Defendant’s guilty plea. Either party

may serve and file written objections “[w]ithin fourteen days after being served with a copy” of

the report and recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo

determination of those portions of the report . . . to which objection is made.” Id. Where, as

here, neither party objects to the report, the district court is not obligated to independently review

the record. Thomas v. Arn, 474 U.S. 140, 149–52 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation

(ECF No. 569) is ADOPTED.
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      It is further ORDERED that the defendant’s guilty plea as to THE information is

ACCEPTED, and the Rule 11 Plea Agreement (ECF No. 563) is taken UNDER

ADVISEMENT.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge
Dated: March 14, 2012

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 14, 2012.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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